                                               United States Bankruptcy Court
                                                 Northern District of Ohio
In re:                                                                                                     Case No. 18-30843-jpg
Edmund F. Berberick, Jr.                                                                                   Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0647-3                  User: admin                        Page 1 of 2                          Date Rcvd: Mar 27, 2018
                                      Form ID: 309A                      Total Noticed: 23


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 29, 2018.
db             +Edmund F. Berberick, Jr.,    9890 Township Highway 18,    Carey, OH 43316-9790
tr              Bruce C. French,    PO Box 839,   Lima, OH 45802-0839
25355975       +Citibank/Shell Oil,    Citicorp Srvs/ Centralized Bankruptcy,     Po Box 790040,
                 St Louis, MO 63179-0040
25355976       +Citicards Cbna,   Citicorp Credit Svc/Centralized Bankrupt,     Po Box 790040,
                 Saint Louis, MO 63179-0040
25355980       +Frontier Communications,    114 Broad St.,   Stamford, CT 06901-2702
25355983       +Huntington National Bank,    491 W. Church St.,    Upper Sandusky, OH 43351-1038
25355984        Synchrony Bank My PayPal Card,    P.O. Box 105658,    Atlanta, GA 30348-5658
25355987       +Virginia Berberick,    9890 Township Highway 18,    Carey, OH 43316-9790

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: qlaw@ureach.com Mar 27 2018 21:57:44       Quentin M. Derryberry, II,     PO Box 2056,
                 15 Willipie Street Suite 220,    Wapakoneta, OH 45895
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Mar 27 2018 21:58:29        Cynthia J. Thayer,
                 US Department of Justice,   201 Superior Avenue,     Suite 441,    Cleveland, OH 44114-1234
25355970       +EDI: BANKAMER.COM Mar 28 2018 01:38:00      Bank Of America,     Nc4-105-03-14,    Po Box 26012,
                 Greensboro, NC 27420-6012
25355971       +EDI: TSYS2.COM Mar 28 2018 01:38:00      Barclays Bank Delaware,     100 S West St,
                 Wilmington, DE 19801-5015
25355972       +EDI: CAPITALONE.COM Mar 28 2018 01:38:00      Capital One,
                 Attn: General Correspondence/Bankruptcy,    Po Box 30285,    Salt Lake City, UT 84130-0285
25355974       +EDI: CHASE.COM Mar 28 2018 01:38:00      Chase Card Services,     Attn: Correspondence Dept,
                 Po Box 15298,   Wilmington, DE 19850-5298
25355973       +EDI: CHASE.COM Mar 28 2018 01:38:00      Chase Card Services,     Po Box 15298,
                 Wilmington, DE 19850-5298
25355977       +EDI: DISCOVER.COM Mar 28 2018 01:38:00      Discover Financial,     Po Box 3025,
                 New Albany, OH 43054-3025
25355978       +EDI: DISCOVERPL Mar 28 2018 01:38:00      Discover Personal Loan,     Attn: Bankruptcy,
                 Po Box 30954,   Salt Lake City, UT 84130-0954
25355979       +EDI: ESSL.COM Mar 28 2018 01:38:00      Dish Network,    9601 S. Meridian Blvd.,
                 Englewood, CO 80112-5905
25355981       +E-mail/Text: bankruptcy@huntington.com Mar 27 2018 21:59:22        Huntington National Ba,
                 41 S High St,   Columbus, OH 43215-3406
25355982       +E-mail/Text: bankruptcy@huntington.com Mar 27 2018 21:59:22        Huntington National Bank,
                 P.O. Box 89424,   Attn: Bankruptcy-ReAffirmation,     Cleveland, OH 44101-6424
25358873       +EDI: PRA.COM Mar 28 2018 01:38:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
25355985       +EDI: RMSC.COM Mar 28 2018 01:38:00      Synchrony Bank/Lowes,     Attn: Bankruptcy,
                 Po Box 965060,   Orlando, FL 32896-5060
25355986       +EDI: VERIZONWIRE.COM Mar 28 2018 01:38:00      Verizon Wireless,     1 Verizon Place,
                 Alpharetta, GA 30004-8510
                                                                                                TOTAL: 15

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 29, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING




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                             Form ID: 309A                Total Noticed: 23


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 27, 2018 at the address(es) listed below:
              Bruce C. French   brucecfrench@earthlink.net,
               bcfrench@woh.rr.com;bcf@trustesolutions.com;BCF@trustesolutions.net
              Quentin M. Derryberry, II   on behalf of Debtor Edmund F. Berberick, Jr. qlaw@ureach.com,
               qdlawfirm@gmail.com
                                                                                            TOTAL: 2




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Information to identify the case:
Debtor 1              Edmund F. Berberick Jr.                                           Social Security number or ITIN        xxx−xx−4041
                      First Name    Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name    Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Northern District of Ohio
                                                                                        Date case filed for chapter 7 3/23/18
Case number:          18−30843−jpg


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                    About Debtor 2:

1.      Debtor's full name                        Edmund F. Berberick Jr.

2.      All other names used in the
        last 8 years

3.     Address                                9890 Township Highway 18
                                              Carey, OH 43316

4.     Debtor's attorney                      Quentin M. Derryberry II                              Contact phone 419−738−3217
                                              PO Box 2056
       Name and address                       15 Willipie Street Suite 220                          Email: qlaw@ureach.com
                                              Wapakoneta, OH 45895

5.     Bankruptcy trustee                     Bruce C. French                                       Contact phone 419−222−9134
                                              PO Box 839
       Name and address                       Lima, OH 45802−0839                                   Email: brucecfrench@earthlink.net
                                                                                                               For more information, see page 2 >
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Debtor Edmund F. Berberick Jr.                                                                                        Case number 18−30843−jpg


6. Bankruptcy clerk's office                    United States Bankruptcy Court                                Hours open 9:00 AM − 4:00 PM
                                                1716 Spielbusch Ave Room 411
    Documents in this case may be filed at this Toledo, OH 43604                                              Contact phone 419−213−5600
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 3/27/18
    www.ohnb.uscourts.gov.


7. Meeting of creditors                           May 22, 2018 at 12:30 PM                                    Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              401 W. North Street, Room 260,
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Lima, OH 45801
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.

                                                          *** Valid photo identification required ***
                                                      *** Proof of Social Security Number required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 7/23/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2




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